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                                          12                        UNITED STATES DISTRICT COURT
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                                          13                      CENTRAL DISTRICT OF CALIFORNIA
                                          14
                                          15   WIDE VOICE, LLC,                          Case No. 2:20-cv-06868
                                          16                   Plaintiff,                COMPLAINT
                                          17   v.                                        DEMAND FOR JURY TRIAL
                                          18   CENTURYLINK
                                               COMMUNICATIONS, LLC and MCI
                                          19   COMMUNICATIONS SERVICES
                                               LLC,
                                          20
                                                               Defendants.
                                          21
                                          22
                                          23                                   INTRODUCTION
                                          24         1.     Wide Voice, LLC brings this action against CenturyLink
                                          25   Communications, LLC and MCI Communications Services LLC due to their
                                          26   refusal to pay certain fees pursuant to the terms of Wide Voice, LLC’s federal
                                          27   telecommunications tariff.
                                          28
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                                           1                                          PARTIES
                                           2         2.     Plaintiff Wide Voice, LLC (“Wide Voice”) is a Nevada limited
                                           3   liability company with its principal place of business in El Segundo, California.
                                           4         3.     Defendant CenturyLink Communications, LLC (“CenturyLink”) is a
                                           5   Delaware limited liability company with a principal place of business in Monroe,
                                           6   Louisiana.
                                           7         4.     Defendant MCI Communications Services LLC (“Verizon”) is a
                                           8   Delaware limited liability company with a principal place of business in Basking
                                           9   Ridge, New Jersey.
                                          10                              JURISDICTION AND VENUE
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                                          11         5.     The Court has jurisdiction over this action pursuant to 28 U.S.C. §
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                                          12   1331. This case arises under federal law and relates to rights and obligations
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                                          13   created by federal statute, specifically the Communications Act, 47 U.S.C. § 151 et
                                          14   seq., and the Declaratory Judgment Act, 28 U.S.C. § 2201.
                                          15         6.     The Federal Communications Commission (“FCC” or “the
                                          16   Commission”) has confirmed that the proper forum for an action to recover unpaid
                                          17   charges due under the terms of a federal tariff is federal district court. U.S.
                                          18   Telepacific Corp. v. Tel-America of Salt Lake City, Inc., 19 FCC Rcd 24552, ¶ 8
                                          19   (2004). Collection of unpaid charges for service under a FCC tariff arises under the
                                          20   Communications Act because the claim relies upon a tariff, which is required by
                                          21   that federal statute to be filed with the FCC. MCI Telecommunications Corp. v.
                                          22   Teleconcepts, Inc., 71 F.3d 1086, 1096 (3rd Cir. 1995); see also Bernstein Bros.
                                          23   Pipe & Machinery Co. v. Denver & R.G.W.R. Co., 193 F.2d 441, 444 (10th Cir.
                                          24   1951) (holding that the right to collect tariff rates arises from the federal statute that
                                          25   establishes the tariff filing requirement).
                                          26         7.     The Court also has jurisdiction over this action pursuant to 28 U.S.C. §
                                          27   1332 because it is among citizens of different states and the amount in controversy
                                          28   exceeds $75,000.
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                                           1         8.     The Court has personal jurisdiction over CenturyLink because
                                           2   CenturyLink has substantial business activities in California, is registered to do
                                           3   business in California, and has network equipment and other business operations
                                           4   and offices in California. CenturyLink’s network connects to Wide Voice’s
                                           5   network through a tandem switch located in Los Angeles, California. Much of the
                                           6   unpaid charges at issue here are from calls CenturyLink transmitted to Wide Voice
                                           7   in Los Angeles, California. In addition, a portion of the unpaid charges at issue
                                           8   result from calls made to California telephone numbers. CenturyLink made partial
                                           9   payments to Wide Voice in California and had CenturyLink sent full payments to
                                          10   Wide Voice as obligated it would have sent such payments to California.
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                                          11         9.     The Court has personal jurisdiction over Verizon because Verizon has
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                                          12   substantial business activities in California, is registered to do business in
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                                          13   California, and has network equipment, retail locations, and other business
                                          14   operations and offices in California. Verizon is also an incumbent local exchange
                                          15   carrier in California. Verizon’s network connects to Wide Voice’s network through
                                          16   a tandem switch located in Los Angeles, California. Much of the unpaid charges at
                                          17   issue here are from calls Verizon transmitted to Wide Voice in Los Angeles,
                                          18   California. In addition, a portion of the unpaid charges at issue result from calls
                                          19   made by Verizon subscribers in California and/or to California telephone numbers.
                                          20   Verizon has made partial payments to Wide Voice in California.
                                          21         10.    Venue is proper in this Judicial District, pursuant to 28 U.S.C. §
                                          22   1391(b)(1), because CenturyLink and Verizon “reside” in the District, due to their
                                          23   contacts with the District, including providing services, having corporate offices
                                          24   and network equipment, and being connected to Wide Voice in the District. Venue
                                          25   is also proper under 28 U.S.C. 1391(b)(2) because a substantial part of the events or
                                          26   omissions giving rise to the claims occurred in the District.
                                          27
                                          28
                                                                                        -3-                                 COMPLAINT
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                                           1                 FACTS COMMON TO ALL CLAIMS FOR RELIEF
                                           2         11.    Wide Voice is a competitive local exchange carrier (“CLEC”) that
                                           3   provides interstate access services to interexchange carriers pursuant to tariffs filed
                                           4   with the Commission.
                                           5         12.    CenturyLink and Verizon are interexchange (i.e., long distance)
                                           6   carriers who provide long distance phone service.
                                           7         13.    CenturyLink and Verizon are using the interstate access services Wide
                                           8   Voice provides under the terms of its Tariff No. 3. CenturyLink and Verizon use
                                           9   these services so they can connect calls made by their customers from whom they
                                          10   are paid.
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                                          11         14.    On December 13, 2019, Wide Voice filed Transmittal No. 14 with the
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                                          12   Commission, which revised Wide Voice’s Tariff No. 3 (“Revised Tariff 3”).
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                                          13   Verizon challenged Wide Voice’s tariff on various grounds, which the Commission
                                          14   declined to act on. Wide Voice’s Revised Tariff No. 3 became effective and was
                                          15   deemed lawful by operation of law on December 28, 2019.
                                          16         15.    Thus, as of December 28, 2019, Wide Voice’s Revised Tariff No. 3
                                          17   establishes the rates, terms and conditions under which Wide Voice provides its
                                          18   interstate access services to interexchange carriers like CenturyLink and Verizon.
                                          19         16.    Under Section 2.10.4 of Wide Voice’s Revised Tariff No. 3, all
                                          20   invoices for Wide Voice’s tariffed services are “presumed accurate and shall be
                                          21   binding” unless a customer, such as CenturyLink or Verizon, provides Wide Voice
                                          22   with a written dispute notice “identify[ing] in detail the basis for the dispute.”
                                          23         17.    Under Section 2.10.5 of Wide Voice’s Revised Tariff No. 3, Wide
                                          24   Voice is entitled to a late fee equal to “1.5% per month, or the highest rate
                                          25   permitted by applicable law, whichever is less,” of any invoiced amount not paid
                                          26   within 30 days of the invoice date.
                                          27         18.    Under Section 2.10.4(J) of Revised Tariff No. 3, Wide Voice is further
                                          28   entitled to recover reasonable attorneys’ fees and expenses it incurs if it prevails in
                                                                                        -4-                                 COMPLAINT
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                                           1   an action to collect amounts due under its Revised Tariff No. 3.
                                           2         19.    Since January 1, 2020, Wide Voice has separately invoiced
                                           3   CenturyLink and Verizon, on a monthly basis, for their respective use of Wide
                                           4   Voice’s interstate switched access services in accordance with the applicable rates
                                           5   set forth in its Revised Tariff No. 3.
                                           6         20.    CenturyLink has provided what it calls a “dispute,” but it is devoid of
                                           7   detail or information required for Wide Voice to properly investigate and thus is not
                                           8   in compliance with Revised Tariff No. 3.
                                           9         21.    Verizon has provided a written dispute notice to Wide Voice. Wide
                                          10   Voice has investigated Verizon’s dispute and resolved a portion of the dispute by
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                                          11   providing a small credit to Verizon. Wide Voice, however, determined the majority
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                                          12   of the dispute was without merit and resolved it in its favor.
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                                          13         22.    Despite demand by Wide Voice pursuant to the terms of Revised
                                          14   Tariff No. 3, both CenturyLink and Verizon have refused and continue to refuse to
                                          15   fully pay for Wide Voice’s tariffed services. Specifically, CenturyLink and
                                          16   Verizon have withheld amounts due to Wide Voice under its Revised Tariff No. 3
                                          17   for its tandem-switched transport services.
                                          18         23.    CenturyLink’s unpaid balance for the period from January 1, 2020 to
                                          19   July 10, 2020 is $28,047.82, exclusive of late fees, attorneys’ fees and interest.
                                          20   Additional damages are accruing monthly as CenturyLink continues to withhold
                                          21   amounts due for services rendered by Wide Voice. Both CenturyLink and Verizon
                                          22   have refused to pay while continuing to take service from Wide Voice
                                          23         24.    Verizon’s unpaid balance for the period from January 1, 2020 to July
                                          24   10, 2020 is $2,721,140.93, exclusive of late fees, attorneys’ fees and interest.
                                          25   Additional damages are accruing monthly as Verizon continues to withhold
                                          26   amounts due for services rendered by Wide Voice.
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                                           1                                    First Claim for Relief
                                           2     (Collection Action Pursuant to Federal Tariff v. CenturyLink and Verizon)
                                           3         25.    Wide Voice repeats and re-alleges each and every allegation contained
                                           4   in paragraphs 1 through 24 of this Complaint as if set forth fully herein.
                                           5         26.     Pursuant to federal law, Wide Voice has filed a Revised Tariff No. 3,
                                           6   which has the force and effect of law and the terms of which constitute a valid and
                                           7   binding contract.
                                           8         27.    Wide Voice has provided interstate switched access services to
                                           9   CenturyLink and Verizon in compliance with the terms of its Revised Tariff No. 3.
                                          10         28.    Wide Voice has separately invoiced CenturyLink and Verizon in
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                                          11   accordance with the rates set forth in its Revised Tariff No. 3.
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                                          12         29.    CenturyLink and Verizon are required to fully pay for Wide Voice’s
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                                          13   access services as set forth in its Revised Tariff No. 3.
                                          14         30.    CenturyLink and Verizon have each refused and continue to refuse to
                                          15   fully pay for Wide Voice’s tariffed services.
                                          16         31.    Wide Voice has been, and continues to be, damaged by CenturyLink
                                          17   and Verizon’s refusal to fully pay for Wide Voice’s tariffed services. Wide Voice
                                          18   is entitled to full payment, plus late fees, its attorneys’ fees, interest, and other such
                                          19   damages that may be established at trial.
                                          20                                  Second Claim for Relief
                                          21                 (Declaratory Judgment v. CenturyLink and Verizon)
                                          22         32.    Wide Voice repeats and re-alleges each and every allegation contained
                                          23   in paragraphs 1 through 31 of this Complaint as if set forth fully herein.
                                          24         33.    There exists a present, actionable and substantial controversy
                                          25   concerning the legal rights among the parties. The specific matter in dispute is
                                          26   whether CenturyLink and Verizon must pay Wide Voice for its tandem-switched
                                          27   transport services under the terms of its federally filed tariff. Such controversy
                                          28
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                                           1   arises under the Communications Act, and under the laws and regulations of the
                                           2   United States.
                                           3         34.    CenturyLink and Verizon’s refusal to pay for Wide Voice’s tandem-
                                           4   switched transport charges is an ongoing and repeated practice.
                                           5         35.    Absent a declaratory judgment, CenturyLink and Verizon will
                                           6   continue their wrongful practice of refusing to pay for Wide Voice’s tandem-
                                           7   switched transport charges and associated late fees.
                                           8         36.    It would be unduly burdensome and inefficient for Wide Voice to
                                           9   bring new actions for damages each time CenturyLink and/or Verizon refuse to pay
                                          10   for Wide Voice’s tandem-switched transport charges.
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                                          11         37.    Accordingly, Wide Voice is entitled to a declaratory judgment, and
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                                          12   such further relief based upon that declaratory judgment as the Court deems proper,
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                                          13   pursuant to 28 U.S.C. §§ 2201 and 2202, determining that Wide Voice:
                                          14                (a) Has lawfully charged CenturyLink and Verizon for tandem-
                                          15                switched transport charges pursuant to Wide Voice’s Revised Tariff
                                          16                No. 3;
                                          17                (b) CenturyLink and Verizon have violated Wide Voice’s Revised
                                          18                Tariff No. 3 by refusing to pay for Wide Voice’s for tandem-switched
                                          19                transport charges and associated late fees; and
                                          20                (c) CenturyLink and Verizon are obligated to make timely payment of
                                          21                these charges and late fees as said charges that are overdue from
                                          22                January 1, 2020 through the present and in the future as they become
                                          23                due.
                                          24                               PRAYERS FOR RELIEF
                                          25         Wherefore, Wide Voice requests that the Court enter judgment against
                                          26   CenturyLink and Verizon and provide Wide Voice with the following relief:
                                          27         (a)    An Order awarding Wide Voice damages and all relief available to
                                          28   Wide Voice as a result of CenturyLink and Verizon’s refusal to fully pay Wide
                                                                                       -7-                               COMPLAINT
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                                           1   Voice under the terms of its Revised Tariff No. 3, including late fees, attorneys’
                                           2   fees, interest and other litigation costs;
                                           3            (b)   An Order declaring that Wide Voice (a) has lawfully charged
                                           4   CenturyLink and Verizon for tandem-switched transport charges pursuant to Wide
                                           5   Voice’s Revised Tariff No. 3; (b) that CenturyLink and Verizon have violated Wide
                                           6   Voice’s Revised Tariff No. 3 by refusing to pay for Wide Voice for tandem-
                                           7   switched transport charges and associated late fees; and (c) that CenturyLink and
                                           8   Verizon are obligated to make timely payment of charges and late fees from
                                           9   January 1, 2020 to the present and in the future as said charges become due; and
                                          10            (c)   An Order granting Wide Voice such other relief as the Court may
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                                          11   deem just or proper.
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                                          12                                      JURY DEMAND
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                                          13            Wide Voice demands a trial by jury on all claims so triable.
                                          14
                                          15 DATED: July 30, 2020                  ROBINS KAPLAN LLP
                                          16
                                                                                   By: /s/ Lucas A. Messenger
                                          17                                           Lucas A. Messenger
                                          18                                           Lauren J. Coppola (pro hac vice to be filed)
                                                                                       Timothy Wenger (pro hac vice to be filed)
                                          19
                                                                                   Attorneys for Plaintiff Wide Voice, LLC
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